                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE MIDDLE OF TENNESSEE
                                   NASHVILLE DIVISION


OTIS GRAY,                                            )
                                                      )
                 Plaintiff,                           )
                                                      )       Case No. 3:12-cv-00156
        v.                                            )
                                                              Judge John T. Nixon
                                                      )
DYNCORP INTERNATIONAL, LLC,                           )       Magistrate Judge Juliet E. Griffin
                                                      )
                 Defendant.
                                                      )
                                                      )

                      STIPULATION OF DISMISSAL WITH PREJUDICE

        Plaintiff Otis Gray (“Plaintiff”) brings this lawsuit against the Defendant, Dyncorp

International, LLC, (“Defendant”), alleging race discrimination in violation of the Tennessee

Human Rights Act (“THRA”).1

        The parties have resolved Plaintiff’s claim, resulting in a Settlement Agreement executed

on June 28, 2012. Pursuant to Fed. R. Civ. P. 41 (a)(1)(A)(ii), the Plaintiff hereby submits this

Stipulation of Dismissal, with prejudice. Plaintiff's claims shall be dismissed with prejudice,

with each party to bear its own costs and fees, and this action shall be stricken from the active

docket. There are no dispositive motions pending and the Defendant joins in this stipulation.

        Respectfully submitted this 17th day of July, 2012.




1
 Plaintiff also pled a hostile work environment claim; however, this case was dismissed on March 26, 2012. (Doc.
10). Co-defendant DynCorp, Inc. was voluntarily dismissed by Plaintiff on April 2, 2012. (Doc. 14.)



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